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   8                          UNITED STATES DISTRICT COURT
   9              CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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  11    JERI B. SCHWEBS, an individual; )        CASE NO. 8:10-cv-01927-JST(RNBx)
        on behalf of himself and all others )
  12    similarty situated,                 )
                                            )
  13                        Plaintiff,      )    ORDER GRANTING STIPULATION
                                            )    RE DISMISSAL OF ENTIRE ACTION
  14          vs.                           )    AND ALL PARTIES
                                            )
  15    WYSE FINANCIAL SERVICES, )
        INC., a Colorado Corporation; and )
  16    DOES 1-10, inclusive,               )
                                            )
  17                        Defendants.     )
                                            )
  18                                        )
                                            )
  19                                        )
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  21            The Court has reviewed the Stipulation of Defendant WYSE FINANCIAL
  22   SERVICES, INC.(“Defendant”), by and through its respective counsel of record,
  23   Charles R. Messer of Carlson & Messer LLP, and by Plaintiff JERI B. SCHWEBS
  24   (“Plaintiff”), by and through his respective counsel of record, Robert Schroth of
  25   Schroth & Schroth, to dismiss the above-entitled action in its entirety. Pursuant to
  26   the Stipulation between the parties, the Court orders as follows:
  27   ///
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                                                                        [PROPOSED] ORDER GRANTING
                                                                      STIPULATION RE: DISMISSAL
       06616.00/177598                                                  CASE NO. 8:10-cv-01927-JST -RNB
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   1            1.       That the above-entitled lawsuit is hereby dismissed, pursuant to FRCP
   2   41(a)(1). Plaintiff’s individual claims against Defendant are dismissed, with
   3   prejudice. The class action claims asserted in the lawsuit are dismissed, without
   4   prejudice. Each party shall bear their own costs and expenses.
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   6   IT IS SO ORDERED:
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       DATED: September 21, 2011
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   9                                             JOSEPHINE STATON TUCKER
  10                                             UNITED STATES DISTRICT JUDGE

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                                                                           [PROPOSED] ORDER GRANTING
                                                                         STIPULATION RE: DISMISSAL
       06616.00/177598                                                     CASE NO. 8:10-cv-01927-JST -RNB
